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                                                    2016-35858 / Court: 055
                                (e.g., John Smith v. All American Insurance Co; In re Mary Ann knes; In the Matter of the Estate of George Jackson)

A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
the time of filing.
1. Contact information for person completing case information sheet:                 Names of parties In case:                                      Person or entity completing sheet is:
                                                                                                                                                  EAttorney for Plaintiff/Petitioner
Name:                                    Email:                                      Plaintiff(s)/Petitioner(s):                                  OPro Se Plaintiff/Petitioner
Anis Damani                              anisdamanigyahoo.co Atancio Barrientos                                                                   OTitle IV-D Agency
                                                                                                                                                  ['Other:
Address°
8303 Southwest                           Telephone:                                                                                               Additional Parties in Child Support Case:
Freeway Ste 111                           832-333-7000                               Defendant(s)/Respondent(s):                                  Custodial Parent:

City/State/Zip:                          Fax:                                        The Lincoln National Life                                    Non-Custodial Parent:
Houston, TX 77074                         1-866-4836981                              Insurance Company                                            Presumed Father:
Signature:                               State Bar No:
                                         24072059
                                                                                      lAttach additional page as necessary to list all parties]
2. Indicate case type, or identify the most important issue in the case (select only I):
                                                  Civil                                                                                               Family Law
                                                                                                                                                                 Post-judgment Actions
          Contract                 Injury or Damage                                 Real Property                          Marriage Relationship                    (non-Title IV-D)
Debt/Contract                OAssault/Battery                                ['Eminent Domain/                            0 Annulment                          0Enforcement
  OConsumer/DTPA             OConstruction                                      Condemnation                              ODeclare Marriage Void               OModification—Custody
  ODebt/Contract             ODefamation                                     ['Partition                                  Divorce                              OModification—Other
  OFraud/Misrepresentation   Malpractice                                     OQuiet Title                                    ['With Children                            Title IV-D
  ['Other Debt/Contract:       OAccounting                                   ['Trespass to Try Title                         ONo Children                      0Enforcement/Modification
                                OLegal                                       [Other Property:                                                                  OPaternity
Foreclosure                     OMedical                                                                                                                       OReciprocals (UIFSA)
   ['Home Equity—Expedited      00ther Professional                                                                                                            OSupport Order
   ['Other Foreclosure             Liability:
                                                                                 Related to Criminal
['Franchise                  OMotor Vehicle Accident                                                                          Other Family Law                  Parent-Child Relationship
                                                                                        Matters
0Insurance                   ['Premises
                                                                             0Expunction                                   ['Enforce Foreign                   OAdoption/Adoption with
OLandlord/Tenant           . Product Liability                                                                                Judgment                           Termination
                               OAsbestos/Silica                              ['Judgment Nisi
ONon-Competiti on                                                                                                          ['Habeas Corpus                     OChild Protection
                                                                             ONon-Disclosure
I:Partnership                  00ther Product Liability
                                                                             OSeizure/Forfeiture                           OName Change                           Child Support
ElOther Contract:                  List Product:                                                                                                               OCustody or Visitation
                                                                             ['Writ of Habeas Corpus-                      OProtective Order
                                                                                 Pre-indictment                            ORemoval of Disabilities            OGestational Parenting
                                    ['Other Injury or Damage:
                                                                             ElOther:                                         of Minority                      OGrandparent Access
                                                                                                                           ['Other:                            OPatemity/Parentage
         Employment                                                Other CMI                                                                                   OTermination of Parental
 ODiscrimination                      El Administrative Appeal            OLawyer Discipline                                                                      Rights
 ORetaliation                         OAntitrust/Unfair                   OPerpetuate Testimony                                                                0 Other Parent-Child:
 OTermination                            Competition                      OSecurities/Stock
 OWorkers ° Compensation              0 Code Violations                   OTortious Interference
 0 Other Employment:                  ['Foreign Judgment                  ['Other
                                      [Intellectual Property

              Tax                                                                                Probate & Mental Health
  OTax Appraisal                      Probate/Wills/Intestate Administration                                        OGuardianship—Adult
  OTax Delinquency                       ['Dependent Administration                                                   Guardianship—Minor
  ['Other Tax                            ['Independent Administration                                               OMental Health
                                         00ther Estate Proceedings




                                                                                                                                                            EXHIBIT       _
          Case 4:16-cv-03635 Document 1-1 Filed in TXSD on 12/12/16 Page 2 of 54



IELess than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
DLess than $100,000 and non-monetary relief
Dover $100, 000 but not more than $200,000
Dover $200,000 but not more than $1,000,000
DOver $1,000,000

                                                                                                                            Rev 2/13
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                                                                                                        5/31/2016 6:10:24 PM
                                                                                   Chris Daniel - District Clerk Harris County
                                                                                                     Envelope No. 10903459
                           2016-35858 / Court: 055                                                            By: Bonnie Lugo
                                                                                                 Filed: 5/31/2016 6:10:24 PM

                             CAUSE NO.

                                                              IN THE DISTRICT COURT
ATANCIO BARRIENTOS
            Plaintiffs,
V.                                                            HARRIS COUNTY
THE LINCOLN NATIONAL
LIFE INSURANCE COMPANY
      Defendant                                                     JUDICIAL tICT

                            PLMNTIFF'S ORIGINAL PETITION
                                                                        _oku)
TO THE HONORABLE JUDGE OF SMD COURT:

       Come now Plaintiff herein, Atancio Barrientos, through ',attorney of record, and files
this original petition against Defendant, Lincoln Financial Qre, and respectfully shows the
Court the following:

                             I. DISCOVERY CQ14TOL PLAN

1. Plaintiff intends to conduct discovery unde         12.

                                             01. RTIES
2. Plaintiff is an individual residing 4
                                       '     as and may be served through the undersigned

   attorney of record.

3. Defendant, The Lincoln 1\1.6 -14al Life Insurance Company, is a foreign corporation

   organized and existi        er the laws of Indiana. While their corporate office is located at

    1300 South Clintfip!reet, Fort Wayne, Indiana, 46802, the corporation is authorized to

   conduct busi 4ce' in Texas and may be served through its registered agent for service of

    process, .b,e, * o rat e Service Company, 211 E. 7th Street Suite 620, Austin, TX 78701-3218.

                                         III. RELIEF

4. Plaintiff seeks only monetary relief of $100,000 or less, including damages of any kind,

    penalties, court costs, expenses, prejudgment interest, and attorney's fees.

                             IV. JURISDICTION AND VENUE
                                                                                               Page 1 of 7
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5. The Court has subject matter jurisdiction over the lawsuit because the amount in controversy

    exceeds this Court's minimum jurisdictional requirements.

6. Venue is proper in Harris County under the Texas Civil Practice and Remedies Code section

    15.002 because: 1) all or a substantial part of the events or omissions giving rise to the claim

    occurred in Harris County; and 2) Defendant, The Lincoln National Life In            ce Company,

    a corporation, is authorized to do business in Texas.

                                            V. FACTS
                                                                         °*b'
7. Plaintiff has been a policy holder of life insurance policy ins       y the Defendant for about

    ten years. Plaintiff paid the policy on a monthly basis th
                                                                  N. his bank account.
                                                                 OCV•


8. When the policy was initially activated over a deca           , Defendant was made aware of any

    and all health issues the Plaintiff had. There hal/4c en no changes in the Plaintiff s health

    issues since signing up with the Defendant4fe insurance.

9. On or around May 21, 2014 Defendant at a notice regarding a lapse in payments toward

    the life insurance policy held by t      amtiff because the payment was not received within

    the "grace period." Payments Qcontinuously made and received by the Defendant.

 10.Throughout the policy, Pl..Caf continued to make regular monthly payments to the
                            P\
    Defendant. Defendat flhai continuously ignored the Plaintiff.

 11. Plaintiff has los    ife insurance policy which he has paid into for about a decade.

                                          CAUSES OF ACTION

                                               Agency

 12. At and during the time of the acts and/or omissions complained of herein, any acts and/or

     omissions committed by an agent, representative or employee of Defendant, occurred within

    the scope of the actual or apparent authority of such person on behalf of said Defendant.


                                                                                            Page 2 of 7
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13. Defendant is therefore liable to Plaintiff for the acts and/or omissions of any such agent,

   representative or employee complained of herein by virtue of such agency relationship.

                                      Fraud by Nondisclosure

14. Paragraphs 1 to 13 are realleged and incorporated by reference.

15. Defendant concealed or failed to disclose material facts related to the applioan and the

   terms of the contract in order to induce the Plaintiff to sign up with th        endant Company.

16. Defendant had a duty to disclose the terms and restrictions of the co. (.:; -' upon being notified

   of the concerns and medical issues of the Plaintiff.

17. The information was material because it dictated the term         d circumstances of the life

   insurance policy coverage, for which the Plaintiff re i       n the Defendant's knowledge.

18. Defendant deliberately remained silent, taking p        ents while aware that the company was

   unwilling to cover the Plaintiff under the p        as initially stated.

19. By deliberately remaining silent, and wIware of all circumstances, the Defendant

   executed the arrangement.

                                              Unfair Collection

20. Paragraphs 1 to 10 are rea gal and incorporated by reference.
                             O'
                             c\
21. Defendant is a     c
                   debtc olleetor. Specifically because, it has sent solicitations and demand

    letters throughop      ir relationship with the Plaintiff demanding payment for a consumer

    debt.

22. Defendatitz)iolated the Texas Debt Collection Act (TDCA) when defendant made misleading

    representations to collect this debt. Despite receiving consistent payments toward the policy,

    Defendant represented that no payments were received.




                                                                                             Page 3 of 7
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23. Defendant violated the TDCA when the defendant used unconscionable means to collect this

   debt. Maximizing the extent of the Plaintiff s desperation, the Defendant then cancelled the

   policy and quoted a more expensive policy to the Plaintiff in order to charge the Plaintiff

   more.

24. Defendant's wrongful act was committed against the Plaintiff and led to th              cellation of a

    life insurance policy on which he has been paying for over ten years.

                                       Texas Deceptive Trade Practices AR---))

 25. Incorporating paragraphs 1-13, Plaintiff would show that D               nt engaged in certain

    false, misleading and deceptive acts, practices and/or o             ns actionable under the Texas

    Deceptive Trade Practices — Consumer Protection                  exas Business and Commerce

    Code, Chapter 17.41, et. seq.), as alleged hereinci)low.

 26. Unconscionable Action or Course of Acti              efendant engaged in an "unconscionable

    action or course of action" to the detr           of Plaintiff as that term is defined by Section

     17.45(5) of the Texas Business              mmerce Code, by taking advantage of the lack of

    knowledge, ability, experienc.r capacity of the Plaintiff to a grossly unfair degree. Here,

    the Defendant took adva .16of the Plaintiff, wrongfully entered into the contract,

     continued to take pay&elks from the Plaintiff and then without explanation or cause
                           (f2f's
     canceled the p            and retained his earlier payments without justification, knowing that the

     Plaintiff w         a dire situation and it would be costly for Plaintiff to take any legal action.

    27. Viola4s of Section 17.46(b). Defendants violated Section 17.46(b) of the Texas

        Business and Commerce Code, in that Defendants:

                   (a)     represented that an agreement confers or involves rights, remedies, or

        obligations which it does not have or involve, or which are prohibited by law;


                                                                                                Page 4 of 7
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               (b)       represented that a guarantee or warranty confers or involves rights or

       remedies which it does not have or involve; and

               (c)       failed to disclose information concerning goods or services which was

       known at the time of the transaction with the intention to induce the consumer into a

       transaction into which the consumer would not have entered had the*5rmation been

       disclosed.

28. Producing Cause. Plaintiff would further show the acts, practices .' , 1.3r omissions
                                                                      .k*c%
    complained of were the producing cause of Plaintiff s dama           re fully described herein

   below.

29. Reliance. Plaintiff would further show the acts, pra9tj. and/or omissions complained of

   under Section 17.46(b) of the Texas Business ap ommerce Code were relied upon by

   Plaintiff to Plaintiff s detriment. Specifica ,e,aintiff relied on Defendant's agreement to

    accept Plaintiff s mortgage payments u L4 the modified program.

30. Written Notice Given. Plaintiff h tbely notified Defendant of such complaint pursuant to

    Section 17.505(a) of the TexaBsTiness and Commerce Code by Certified letter dated

    February 28, 2013, and w P    ‘   how compliance with all conditions precedent to the filing of

                            -Idditional damages and attorney's fees. Defendant has failed to
    this suit and recove 6-Y.i

    respond to the

                     (0)                       DAMAGES
31. Exempl           amages. Plaintiff would further show that the acts and omissions of Defendant

    complained of herein were committed knowingly, willfully, intentionally, with actual

    awareness, and with the specific and predetermined intention of enriching said Defendant at

    the expense of Plaintiff, which entitles plaintiff to exemplary damages under the Texas Civil

    Practice and Remedies Code section 41.003(a). Defendant's actions laced with malice led to

                                                                                          Page 5 of 7
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   the foreclosure of Plaintiff's home. Plaintiff later had to spend close to $9,000 to redeem her

   property.

32. Actual Damages. Plaintiff sustained the following economic and actual damages as a result

   of the actions and/or omissions of Defendant described hereinabove:

               (a)     Out-of-pocket expenses;

               (b)     Interest and/or finance charges assessed against and        by Plaintiff;

               (c)     Loss of the "benefit of the bargain;"

               (d)     Diminished or reduced market value; and *0

               (e)     Costs of repairs.

33.Attorney's Fees. Request is made for all costs and          nable and necessary attorney's fees

   incurred by or on behalf of Plaintiff herein, ine*cling all fees necessary in the event of an

   appeal of this cause to the Court of Appe          d the Supreme Court of Texas, as the Court

   deems equitable and just, as provided It) (a) Section 17.50(d) of the TEXAS BUSINESS AND

   COMMERCE CODE; (b) Chapter 3k, e TEXAS CIVIL PRACTICE AND REMEDIES CODE; and,

   (c) common law.

                                           UEST FOR DISCLOSURE
                             p9,
34. Pursuant to Thx. R. SM.-T. 194, Defendant is requested to disclose, within fifty (50) days of

   service of this r     t, the information or material described in Rule 194.2.

                                             PRAYER

       WH14FORE, PREMISES CONSIDERED,                            Plaintiff, Atancio Barrientos,

respectfully prays that the Defendant be cited to appear and answer herein, and that upon a final

hearing of the cause, judgment be entered for the Plaintiff against Defendant, jointly and

severally, for the economic and actual damages requested hereinabove in an amount in excess of



                                                                                           Page 6 of 7
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the minimum jurisdictional limits of the Court, together with prejudgment and postjudgment

interest at the maximum rate allowed by law, attorney's fees, costs of court, and such other and

further relief to which the Plaintiff may be entitled at law or in equity, whether pled or unpled.




                                               Respectfully submitted,

                                               DAMANI LAW FIRM, $

                                               By: /s/ Anis Damarm
                                               Anis Damani
                                               Texas Bar No. 24O2O59
                                               8303 Southwe       eway, Suite 111
                                               Houston, Tets)* 7074
                                               Tel. (832      7000
                                               Fax. (86 #1:3-6981
                                               Anis      nayahoo.com




                                                                                            Page 7 of 7
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                                                       CAUSE NO. 201635858


                                                       RECEIPT NO.                                            0,00            CIV
                                                                 **********                                           TR # 73308119
PLAINTIFF: BARRIENTOS, ATANCIO                                                                             In The 55th
   vs                                                                                                      Judicial District Court
DEFENDANT: LINCOLN FINANCIAL GROUP                                                                         of Harris County, Texas
                                                                                                           55TH DISTRICT COURT
                                                                                                           Houston TX
                                                    CITATION
THE STATE OF TEXAS
County of Harris


TO: LINCOLN NATIONAL LIFE INSURANCE COMPANY (THE) (A FOREIGN CORPORATION)
    MAY BE SERVED BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY
    OR WHEREVER DEFENDANT MAY BE FOUND
    211 E 7TH STREET SUITE 620 AUSTIN TX 787013218



    Attached is a copy of PLAINTIFF'S FIRST AMENDED ORIGINAL PETITION

This instrument was filed on the 8th day of September, 2016, in the above cited cause number
and court. The instrument attached describes the claim against you.

    YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
written answer with the District Clerk who issued this citation by 10:00 a.m, on the Monday
next following the expiration of 20 days after you were served this citation and petition,
a default judgment may be taken against you.

TO OFFICER SERVING:
    This citation was issued on 7th day of November, 2016, under my hand and
seal of said Court.

Issued at request of:
DAMANI, ANIS NURUDIN           I u
                                                ... .......   %
                                                                    C
                                                      .% Ca CHRIS D IEL,
                                                                     144' District
                                                                             24

                                                        \iparris County, Texas
                                                                                    Clerk        " .4‘e'




8303 SOUTHWEST FREEWAY SUITE 13. 0';                     1;01 Caroline        Houston, Texas 77002
HOUSTON, TX 77074                                   .             Box 4651, Houston, Texas 77210)
Tel: (832) 333-7000
Bar No.: 24072059                    , ..............       GENERATED .BY: COLLINS, IRIS TROISH    I1(51/10479847

                                           OFFICER/AUTHORIZED PERSON RETURN

Came to hand at                 o'clock          .M., on the                      day of

Executed at (address)                                                                                                                 in

                                    County at                 o'clock                        .M., on the             day of

     , by delivering to                                                defendant, in person, a
true copy of this Citation together with the accompanying                    copy(ies) of the
                                                                                     Petition
attached thereto and I endorsed on said copy of the Citation the date of delivery.
To certify which I affix my hand officially this         day of

Fee: $

                                                                                                       of                  County, Texas


                                                                                      By
                        Affiant '                                                                            Deputy

On this day,                                               , known to me to be the person whose
signature appears on the foregoing return, personally appeared . After being by me duly sworn,
he/she stated that this citation was executed by him/her in the exact manner recited on the
return.

 SWORN TO AND SUBSCRIBED BEFORE ME, on this                         daY of


                                                                                       Notary Public

         N.INT.CITR.P
                                                                    1 01 1 1 1 1 1 1 1 1 1 1 1
         Case 4:16-cv-03635 Document 1-1 Filed in TXSD on 12/12/16 Page 11 of 54


                                                                                                       11/4/2016 3:16:10 PM
                                                   CIVIL PROCESS REQUEST FORM     Chris Daniel - District Clerk Harris County
                                                                                                    Envelope No. 13635265
                                                                                                                Ry toc    fins
                      FOR EACH PARTY SERVED YOU MUST FURNISH ONE (1) COPY OF THE PLEADINGiled: 11/4/2016 3:16:1 PM
                    FOR WRITS FURNISH TWO (2) COPIES OF THE PLEADING PER PARTY TO BE SERVED

CASE NUMBER: 2016-35855                                                     CURRENT COURT: 55 Ih

TYPE OF INSTRUMENT TO BE SERVED (See Reverse For Types). Plairgin's Original Petition

FILE DATE OF MOTION: 918/2016
                                                                                 Month/        Day/      Year

SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be Served):
I. NAME: Corporate Service Company
    ADDRESS: 211 East 7th Street. Suite 620 Austin, Texas 78701-3218
    AGENT, (tfapplicable):
TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific owe):
    SERVICE BY (check one):
         o     ATTORNEY PICK-UP                       0 CONSTABLE
               CIVIL PROCESS SERVER - Authorized Person to Pick-up: Gail Bel                                                  Phone: 713-859-8912
         o     MAIL                                   0 CERTIFIED
         o     PUBLICATION:
                Type of Publication:            0 COURTHOUSE DOOR, or
                                                0 NEWSPAPER OF YOUR CH
          0 OTHER, explain

                                                          ATTENTION: Effect'                unel, 2010

     For all Services Provided by the DISTRCT CLERKS • :gat' requiring our office to MAIL something back to the
  Requesting Party, we require that the Requesting Party oOr a Self-Addressed Stamped Envelope with sufficient postage
                                                 for mail   Thanks you,

**********************************************                              * ******************************************************

2, NAME;
     ADDRESS:
     AGENT, (V applicable):
TYPE OF SERVICE/PROCESS TO B LJED (see reverse for specific rype):
     SERVICE BY (check one):
        0 ATTORNEY PICK-1.1,                                                 0 CONSTABLE

           o    CIVIL PROCES 4VER - Authorized Person to Pick-up:                                                            Phone:

           0 MAIL                                 0 CERTIFIED MAIL
                          0
           o  PUBLICA4 •
               Type of     ation: 0 COURTHOUSE DOOR, or
                                    0 NEWSPAPER OF YOUR CHOICE:
           0 OTHER, explain


 ATTORNEY (OR ATTORNEY'S AGENT) REQUESTING SERVICE:
                                                                                                TEXAS BAR NOJID NO. 24072059
 NAME: Anis Omani
 MAILING ADDRESS: 8303 Southwest FWY, Ste. 111 Houston, Texas 77074
 PHONE NUMBER:             ala
                             333-7000
                             area code
                                          FAX NUMBER: 10
                                                           phone nunAxa                                         area code
                                                                                                                            483-6981
                                                                                                                                   fax number

  EMAIL ADDRESS: anisdamaniQvahoo.com


                                                                              Page I of 2
                                                                                                                                                Rev.   snno
  SAFonnsUlACMI Ourcau‘Chr Fam Imake & Cuslomer sveicivimakeTivit Process Request Form
          Case 4:16-cv-03635 Document 1-1 Filed in TXSD on 12/12/16 Page 12 of 54


   SERVICE REQUESTS WHICH CANNOT BE PROCESSED BY THIS OFFICE WILL BE HELD FOR 30 DAYS PRIOR TO I
   CANCELLATION. FEES WILL BE REFUNDED ONLY UPON REQUEST, OR AT THE DISPOSITION OF THE CASE.
   SERVICE REQUESTS MAY BE REINSTATED UPON APPROPRIATE ACTION BY THE PARTIES.




INSTRUMENTS TO BE SERVED:                                                                PROCESS TYPES:
(Fill In Instrument Sequence Number, i.e. 1st, 2nd, etc.)
                                                                                         NON WRIT:
ORIGINAL PETITION                                                                        CITATION
I      AMENDED PETITION                                                                  ALIAS CITATION
       SUPPLEMENTAL PETITION                                                             PLURIES CITATION
                                                                                         SECRETARY F STATE CITATION
                                                                                         COMMISSI       OF INSURANCE
COUNTERCLAIM                                                                             HIGHW         M1SSIONER
     AMENDED COUNTERCLAIM                                                                CITATI      PUBLICATION
      SUPPLEMENTAL COUNTERCLAIM                                                          NOTI
                                                                                         SHOg1FORM NOTICE
CROSS-ACTION:
       AMENDED CROSS-ACTION                                                                  EPT (SHOW CAUSE)
       SUPPLEMENTAL CROSS-ACTION                                                           LE 106 SERVICE

TH1RD-PARTY PETITION:                                                                    SUBPOENA
      AMENDED THIRD-PARTY PETITION
      SUPPLEMENTAL THIRD-PARTY PETITION                                                  WRITSz
                                                                                         ATTACHMENT (PROPERTY)
INTERVENTION:                                                                            ATACHMENT (WITNESS)
      AMENDED INTERVENTION                                                               ATTACHMENT (PERSON)
       SUPPLEMENTAL INTERVENTION

INTERPLEADER
                                                                             0           CERTIORARI
      AMENDED INTERPLEADER
       SUPPLEMENTAL INTERPLEADER                                                         EXECUTION
                                                                                         EXECUTION AND ORDER OF SALE

                                                                                         GARNISHMENT BEFORE JUDGMENT
INJUNCTION                                                                               GARNISHMENT AFTER JUDGMENT
MOTION TO MODIFY                                                                         HABEAS CORPUS
SHOW CAUSE ORDER                                                                         INJUNCTION
                                                                                         TEMPORARY RESTRAINING ORDER
TEMPORARY RESTRAINING ORM
                                                                                         PROTECTIVE ORDER (FAMILY CODE)
                                                                                         PROTECTIVE ORDER (CIVIL CODE)

BILL OF DISCOVERY:
                                                                                         POSSESSION (PERSON)
      ORDER TO:
                                         (spec4)                                         POSSESSION (PROPERTY)
      MOTION TO:
                                          (sPeci5')
                                                                                         SCIRE FACIAS
                                                                                         SEQUESTRATION
                                                                                         SUP ERSEDEAS




                                                                           Page 2 of 2

 SAFormsLib\Civil BureauTiu Fara Imake &Customer SveCivintake   Process Request Form                              Rev.   srm
Case 4:16-cv-03635 Document 1-1 Filed in TXSD on 12/12/16 Page 13 of 54




                                     CHRIS DANIEL
                                    HAMS COUNTY   Dmriuct CLERK

                                                                                  ElvTERe

                                     Civil   Process Pick-Up Form
                      CAUSE NUMBER:               ,2100 -35 g5 (s'
   ATY                          aV                                      COURT


    *ATTORNEY:                                                                        t.33-70m
    *CIVIL PROCESS SERVER:



    *PERSON NOTIFIED SVC READY:

    * NOTIFIED BY: IRIS COLUNS * DATE



   Type of Service Document:                                Tracking Number   7,30)              1/
   Type of Service Document:                                Tracking Number
   Type of Service Document:                                Tracking Number
   Type of Service Document:                                Tracking Number
   Type of Service Document:                                Tracking Number
   Type of Service Document:        0                       Tracking Number
   Type of Service Document:                                Tracking Number


                     Proc ipers prepared by:         eX; LF-eeetor
   Dale:   14 1                     2016      30 days wailing       )
   *Process p        released to:          6,4_1 (PRINT N..IME)
    - 113 ,           S'                     AB     1
   *(CONT4CT NUMBER)                         (SIGNAT R

    *Process papers released by:                     Wittk.4            A.e. WO-
                                                   (P • IN , Net         1

                                                       ea
                                                   (SIGN URE)

    * Date:     Ic   /                , 2016 Time: 2-           I         /
                                                                                RECORDERS MEMORANDUM
                                                                                This instrument is of poor quality
                                                                                      et the time of Imaging
    Entire document must he completed (do not change this document) Revised 11912015
Case 4:16-cv-03635 Document 1-1 Filed in TXSD on 12/12/16 Page 14 of 54

                                                                                                        9/812016 2:48:24 Ph
                                                                                  61=Irit.Daniel - District Clerk Harris Count
                                                                                                    Envelope No. 1259529:
                                                                                                       By: DANIEL FLORE;
                                                                                                 Filed: 9/8/2016 2:48:24 Pk


                                      CAUSE NO. 2016-35858

ATANACIO BARRIENTOS,                                                IN THE DISTRICT COURT OF

Plaintiff,                                                             HARRIS COUNTY, TEXAS

V.
                                                                         55 th JUDICIAL DISTRICT
THE LINCOLN NATIONAL
LIFE INSURANCE COMPANY,
           Defendant

                  PLAINTIFF'S FIRST AMENDED ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        Comes now Plaintiff herein, Atanacio Barrientos ("Plaintiff '), through their attorney of

recOrd, and files this original petition against Defendant, The Lincoln National Life Insurance

Company ("Lincoln"), and respectfully shows the Court the following:

                                I.     DISCOVERY CONTROL PLAN

     1. Plaintiff intends to conduct discovery under Level 2.

                                            II.     PARTIES

     2. Plaintiff Atanacio Barrientos is an individual citizen and resident of Harris County, Texas.

     3. Defendant, The Lincoln National Life Insurance Company, is a foreign corporation

         organized and existing tinder the laWs of Indiana but is authorized to conduct business in

         Texas. Defendant may be served through its registered agent for service or process is

         Corporate Service Company, 211 East 7 th Street, Suite 620, Austin, Texas 78701-3218 or

         wherever Defendant may be found.

                                                     RELIEF

     4. Plaintiff seeks only monetary relief of S100,000 or less, including damages of any kind,

         penalties, court costs, expenses, prejudgment interest, and attorney's fees.




                                              Page 1 of 10
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                             IV. JURISDICTION AND VENUE

  5. Subject matter jutisdiction is properly vested in this Court becauSe the amount in

     controversy is within the Court's jurisdictional requirements.

  6. This court has jurisdiction over the Defendant because said Defendant purposefully availed

     itself of the privilege of conducting activities in the State of Texas and established

     minimum contacts sufficient to confer jurisdiction over said Defendants, and the

     assumption of jurisdiction over the Defendants will not offend traditional notions of fair

     play and substantial justice and is consistent with the constitutional requireMents of due

     process.

  7. Plaintiff would show that Defendants had continuous and systematic contacts with the State

     of Texas sufficient to establish general jurisdiction over said Defendant.

  8. Plaintiff is not making a claim or cause of action pertaining to a federal question. All of

     Plaintiff's claims relate to misrepresentation and/or otnissions by the Defendant.

  9. Venue is proper in Harris County under the Texas Civil Practice and Remedies Code §

      15.002 because: 1) all or a substantial part of the events ot omissions giving rise to the

      claim occurred in Harris County; 2) Plaintiff is from Harris County, was engaged in a. life

      insurance plan in Harris County, was presented with and relied upon fraudulent information

      regarding life insurance in Harris County, and suffered all damages that they complain of

      in Harris County; and 3) Defendant, The Lincoln National Life Insurance Company, a

      corporation, is authorized to do business in Texas

  10. Venue is also proper in Hatris County under the Texas Business & Commerce Code §17.56

      because this suit is filed in the county where the negligent, deceptive, misleading and

      fraudulent conduct occurred.




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                                          V. FACTS

  11. Before September 29, 1999, Plaintiff was approached by a solicitor, an agent of the

     Defendant, in regards to purchasing life insurance policy. The policy terms were not

     properly explained at the time by the agent ofthe Defendant.

  12. On Or around September 29, 1999, Plaintiff registered as a policyholder of a life insurance

     policy insured by the Defendant.

  13. On or around September 29, 1999, when Plaintiff registered for a , life insurance policy

     insured by the Defendant, Defendant was made aware of any and all preexisting health

     conditions.

  14. Plaintiff has been a policyholder of life insurance policy insured by the Defendant for about

     ten years. Plaintiff paid the policy on a monthly basis through his bank account.

  15. On or around May 21, 2014, Defendant sent a nOtice regarding a lapse in payment toward

     the life insurance policy held by the Plaintiff because the payment was not received within

     the "grace period."

  16. Plaintiff was advised to apply for reinstatement by the Defendant, by which the Plaintiff

     complied,

  17. Plaintiff then completed the reinstatement application and provided the premium payment

     as per the guidelines for policy reinstatement. Both the initial and reinstatement application

     indicate the onset of diabetes in 1995.

  18. Plaintiff continued to make regular premium payments that are usually retluired for

     reinstatement consideration. The Defendant received the payments regularly.




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  19. Plaintiff was then refused from the life insurance policy, which he has paid into for over

     ten years despite completing the reinstatement application and providing a premium

     payment.

  20. In exChange, Defendant quoted a larger and more expensive health insurance policy to the

     Plaintiff despite no change in health conditionS and Plaintiff s already invested amount for

     a health insurance policy.

  21. Plaintiff and Plaintiff s counsel have notified Defendant of wrongdoings, but have

     repeatedly been ignored.

                                      VI. CAUSES OF ACTION

                                            Breach of Contract

  22. Paragraphs 1 through 21 are reiterated and incorporated for reference.

  23. Qn March 31, 1999, plaintiff and defendant executed a valid and enforceable written

      contract. Plaintiff attached a copy of the contract as Exhibit A arid incorporates it by

      reference. The contract provided that plaintiff would complete a reinstatement application

      prior to the Expiry Date, due proof that the Insured is insurable, payment of the premium

      from the date agreed to reinstate to next premium due date, and payment of premium due

      for any coverage provided under Grace Period, and that defendant would reinstate, or

      restore, the original policy.

  24. Plaintiff substantially performed plaintiff's contractual obligation. Plaintiff completed the

      reinstatement application, completed a physical to prove its insurable characteristic, and

      provided payment of premiums.

  25. Defendant breached the contract by repudiating the performance of its contractual

      obligation. Defendant received the reinstatement application, accepted the physical from




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     the doctor that proved insurability, and Defendant accepted and/or applied the premium

     payments, but did not reinstate the Plaintiff to his original pOlicy.

  26. Defendant's breach caused injury to the plaintiff, which resulted in the following damages:

     Plaintiff was dropped from life insurance policy.

  27. Plaintiff seeks unliquidated damages within the jurisdictional limits of this Gotta.

  28. Attorney fees. Plaintiff is entitled to recover reasonable and necessary attorney fees under

     the Texas Civil Practice & Remedies Code chapter 38 because this suit is for breach of a

     written contract. Plaintiff retained counsel, who presented plaintiff's claim to defendant.

     Defendant did not tender the amount owed within 30 days of when the claim was presented.

                                         Common Law Fraud
                                                   -




  29. Paragraphs 1 through 21 are reiterated and incorporated for reference.

  30. Defendant represented to plaintiff in a letter noting that Defendant would reinstate the

     Plaintiff to his original life insurance policy without mention of any external factors.

  31. Defendant's representation to plaintiff was material because a reasonable person would

      attach importance to and be induced to act on the information in determining whether to

      continue making premium payments to defendant. If plaintiff was aware that he might not

      be reinstated, he would not have applied for reinstatement.

  32. Defendant's representation to plaintiff was a false statement of fact because it was an

      untrue, deceptive, or misleading statement concerning a past or present fact. Defendant was

     Aware that progressions in disease could result in dropping plaintiff from policy but failed

      to mention this.

  33. Defendant's false repreSentation directly and proximately caused injury to plaintiff, which

      resulted in the following damages: Plaintiff was dropped from life insurance policy.




                                           Page 5 of 10
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 34. Plaintiff seeks damages within the jurisdictional limits of this Court.

  35. Exemplary damages. Plaintiff's injury resulted from defendant's actual fraud or malice,

     which entitles plaintiff to exernplary damages under Texas Civil Practice & Remedies

     Code section 41.003(a)

                                              Negligence

  36. Paragraphs 1 throUgh 21 are reiterated and incorporated for reference.

  37. Defendant owed a legal duty to plaintiff but fell below a professional's standard of ordinary

     care. Defendant failed to notify Plaintiff of defaults in payment and note that the premium

     payments which were originally accepted were in fact not going to be applied.

  38. Defendant's breach of duty proximately caused injury to plaintiff, which resulted in the

      following damages: premium payments and removal from life insurance policy.

  39. Plaintiff seeks damages Within the jurisdictional limits of this Court.

                                        Vicarious Liability - Agency

  40. Paragraphs 1 through 21 are reiterated and incorporated for reference.

  41. At the time of defendant dropping plaintiff from life insurance policy, defendant The

      Lincoln National Life Insurance Company had, through lack of due care, allowed its agent

      to believe that actions taken on behalf of defendant were authorized. Defendant's agerit

      wrote a letter to Plaintiff suggesting completing the reinstatement application although

      Defendant was aware that Defendant would not be granting reinstatement due to

      progression of disease.

  42. At the time of the situation mentioned above, the agent was acting within the scope of

      authority granted by The Lincoln National Life Insurance Company. The agent believed

      he had authority from The Lincoln National Life Insurance Company.




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  43. Defendant did not tender the ainonnt owed within 30 days of when the claim was presented.

                                         Misrepresentations

  44. Paragraphs 1 through 21 are reiterated and incorporated for reference.

  45. A representation may be implied from the circumstances of the transaction. 'Specifically,

     Defendant continued to accept and apply premium payments, a terM for reinstatement for

      life insurance policy.

  46. Plaintiff did not receive reimbursement for payment until plaintiff's application was

      rejected months later.

  47. Plaintiff implied from the Defendant's actions, acceptance of premium payments, that his

      policy was reinstated.

                                              Bad Faith

  48. Paragraphs 1 through 21 are reiterated and incorporated for reference.

  49. An insurance contact existed between Atanacio Barrientos and defendant, and plaintiffs

      were third party beneficiaries.

  50. This insurance contract created a duty of good faith and fair dealing which defendant

      breached when it denied payment when liability was reasonably clear.

  51. Defendant's breach proximately caused Plaintiff's damages for which Plaintiff now sues.

  52. Plaintiff hereby brings a cause of action for bad faith, independent of Plaintiff s claims

      under the Texas Insurance Code. See Provident Am. Ins. Co. v. Castaneda, 988 S.W.2d

      189.193 (Tex 1998); Universe Life Ins. Co. v. Giles, .950 S.W2d 48, 50-51 (Tex. 1997)

                                 Texas Deceptive Trade Practices Act

  53. Paragraphs 1 through 20 are reiterated and incorporated for reference.




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  54. Plaintiff would show that Defendant has violated and continues to violate TEX. BUS. &

     COM. CODE § 17.41, et. seq. by engaging in in certain false, misleading and deceptive

     acts, practices and/or omissions.

  55. Unconscionable Action or Course of Action. Defendant engaged in an "unconscionable

     action or course of action" to the detriment of Plaintiff as that term is defined by Texas

     Business and Commerce Code § 17.45(5), by taking advantage of the lack of knowledge,

     ability, experience, or capacity of the Plaintiff to a grossly unfair degree. Here, the

     Defendant took advantage of the Plaintiff, wrongfully entered into the contract„ continued

     to take payments from the Plaintiff and then without explanation or cause cancelled the

     policy, and retained his earlier payments without justification, knowing that the Plaintiff

     was in a dire situation and it would be costly for Plaintiff to take any legal action.

  56. Violations of Section 17.49(b). Defendant violated Texas Business and Cominerce Code §

      17.46(b), in that Defendant;

         a. Represented that an agreement confers or involves rights, remedieS, or obligations

             which it does not have or involve, or which are prohibited by law. Specifically,

             Defendant referenced the cOntract signed which details the reinstatement process,

             which it did not oblige by.

         b. Represented that a guarantee or warranty confers or involves rights or remedies

             which it does hot have or involve; and

         c. Failed to disclose information concerning goods or services, which was known at

             the time of the transaction with the intention to induce the consumer into a

             transaction, into which the consumer would not have entered had the information




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              been disclosed. Defendant did not mention that the progressioti of diabetes would

              suffice the defendant to drop plaintiff from policy.

  57. Producing Cause. Plaintiff would further show the acts, practices and/or omissions

     complained of were the producing cause of Plaintiff's damages more fully described herein

     below.

  58. Reliance. Plaintiff would further show the acts, practices and/or Missions complained of

     under Texas Business and Comtherce Code § 17.46(b) were relied upon by Plaintiff to

     Plaintiff's detriment. Specifically, Plaintiff relied on Defendant's agreement to accept

  59. Written Notice Given. Plaintiff has timely notified Defendant of such complaint pursuant

     to Texas Business and Commerce Code § 17.505(a) by Certified letter dated November 10,

     2014.

                                         VII. DAMAGES

  60. Mental Anguish Damages. Defendant acted knowingly, which entitles plaintiff to recover

      mental-anguish damageS under Texas Business & Commerce Code § 17.50(b)(1)

  61. Actual DamageS. Plaintiff sustained economic and actual damages as a result of the actions

      and/or omissions of Defendant hereinabove.

  62. Attorney's Fees. Request is made for all costs and reasonable and necessary attorney's fees

      incurred by or on behalf of Plaintiff herein, including all fees necessary in the event of an

      appeal of this cause to the Court of Appeals and the Supreme Coutt of Texas, as the Court

      deems equitable and just, as provided by: (a) TEXAS BUSINESS AND COMMERCE

      CODE §17,50(D); (b) TEXAS CIVIL PRACTICE AND REMEDIES CODE Chapter 38;

      and (c) common law.


                               REQUEST FOR DISCLOSURE


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   63. Pursuant to TEX. R. CIV. P. 194, Defendant is requested to disclose within fifty (50) dayS

       of service of this requeSt, the information ot material described in Rule 194.2.

                                                 PRAYER


       WHEREFORE, PREMISES CONSIDERED,                            PI aintiff, Atanac io Barrientos;
respectfully prays that the Defendant be cited to appear and answer herein, and that upon a final
hearing of the cause, judgment be entered for the Plaintiff against Defendant, jointly and severally,
for the economic and actual damages requested hereinabove in an amount in excess of the
minimum jurisdictional limits of the Court, together with prejudgment and postjudgment interest
at the maximum rate allowed by law, attorney's fees, costs of court and suth other and further
relied to which the Plaintiff may be entitled at law or in equity, whether pled or unpled.


                                                               Respectfully Submitted,

                                                               DAMANI LAW FIRM, PLLC
                                                               Is/ Anis Dam dni
                                                               Anis Damani
                                                               Texas Bar No. 24072059 -
                                                               8303 Southwest Freeway, Suite 111
                                                               Hbuston, Texas 77074
                                                               Tel. (832) 333-7000
                                                               Fax. (866) 483-6981
                                                               An isDamani(a.)yahoo.com




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This policy has :been written in readable language to help you understand
its-terms. As you read through the policy, remember the words "you" and
"your" refer to you, the Owner of this policy. Similarly, the words "we",
       and "our" refer to Guarantee Life Insurance Company.

This policy is a legal contract between you and -us.1READ .THIS
                                                                                               Guarantee Centre
POLICY CAREFLTT.1.Y.

 We Will pay the Policy Proceeds to the Beneficiary, subject to all                          8801 Indian Hills Drive
 provisions of this policy, if the Insured dies while this policy is in
 effect. Payment will be made upon receipt of dueyroof of the Insured's                        Omaha, NE 68114
• death. This policy is issued in consideration of the-application and of
 the payment, in advance, of the required premiums.
                                                                                                 402-361-7300
TEN DAY RIGHT TO CANCEL POLICY
                                                                                                1-80D-462-4660
At any time within ten (10) days after receiving this policy, you
return it to us or to the agent through whom it was purchased. T
policy will be void as if never issued. All premiums paid will
refunded.


Signed.for Guarantee Life Insurance Company •.(a sto                    ompany)
at Omaha, Nehtilska.




                                                                                /....t
      aleud
             Secretary                                                     President

 TERM LiFE INSURANCE TO AGE 90
 untie Prenthim is level for the Initial RI      criod shown in the Policy Specifications.
 Premiums in subsequent policy years         ease each year,
 but will not exceed the Guarantecf P. um Premiums.
 This policy may be renewed each           ntil, but not beyond, the Expiration Date.
 This is a Nonparticipating Pol'

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                          GUARrh'EE LIFE INSURANCE        comelkly



                          POLICY         SPECIFICATIONS

                                                    INITIAL
                                                  GUARANTEED
                               COVERAGE             ANNUAL       YEARS
  POLICY BENEFITS           EXPIRATION DATE        PREMIUM*      PAYABLE      FORM
TERM LIFE TO AGE 90     SEPTEMBER 23,2039           $739.00      01        50652-95
SPECIAL CLASS           SEPTEMBER 23,2019           $566.00
ACCELERATED BENEFIT RIDER**                                                ABR50-94TX
**THE ACCELERATED BENEFIT RIDER IS A NO COST RIDER THAT     MITS UP TO 50%
  OF THE ELIGIBLE AMOUNT OF INSURANCE TO BE ACCELERAT      ON DIAGNOSIS OF A
  TERMINAL ILLNESS. IF EXERCISED, THERE IS AN INTER      CHARGE AND A $150
  ADMINISTRATIVE CHARGE. PLEASE SEE THE RIDER'S P       IONS FOR DETAILS.

  * GUARANTEED MAXIMUM PREMIUMS FOR POLICY YEAR OT
    SHOWN ABOVE ARE INDICATED ON THE FOLLOWIN   GE.


                                                AL          PRE-AUTHHORIZED
   TOTAL PREMIUMS                             MENT          MONTHLY PAYMENT
   FIRST POLICY YEAR                     005.00                $116.15
                                         0
   THE INITIAL RATE PERIOD FOR TH        LICY IS 30 POLICY YEARS.

     A DETAILED   STATEMENT OF     METHOD OF CALCULATION OF ALL VALUES HAS
     BEEN FILED   WITH THE IN    NCE SUPERVISORY OFFICIAL OF THE STATE IN
     WHICH THIS   POLICY IS     VERED. ALL VALUES ARE EQUAL TO OR GREATER
     THAN THOSE   REQUIRED     HAT STATE.




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      GUARANTEE LIFE INSURANCE COMPANY                          AGENT:               RUDOLPH- .SALDIVAR
    - GUARANTEE CENTRE                                                                21135 . PARK BROOK
      8801 INDIAN HILLS DRIVE -     e                                                 KATY TX 77450            —
      OMAHA, NEBRASKA 68114      .       4.
       1r800-462-4660                                                                 (281)578-5244
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     13.04      13.05      13.04 LIFE INSURANCE NET PAYMENT COST INDEX                    13.04     13.05      13.04


 AN. EXPLANATIONLOFITHE INTENDED.11SE OF THESE INDEXES •S PROVIDED IN THE LIFE INSURANCE BUYERS GUIDE.
  THESE INDEXES ARE USEFUL ONLY FOR COMPARISON OF RELATIVE COSTS OF TWO OR MORE SIMILAR POLICIES.
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                        GUAnTEE LIFE INSURANCE COr sliNY




  GUARANTEED MAXIMUM ANNUAL PREMIUMS AFTER THE FIRST POLICY YEAR:
ATT' D     TERM LIFE       GUARANTEED      ATT'D        TERM LIFE         GUARANTEED
 AGE        BENEFIT      TOTAL PREMIUM      AGE          BENEFIT        TOTAL PREMIUM

  51    $    1,305.00 $    1,305.00          71     $        739.00 $         739.00
  52         1,305.00      1,305.00          72              739 1 i          739.00
  53         1,305.00      1,305.00         73               739 At i         739.00
  54         1,305.00      1,305.00          74              7 -f )10         739.00
  55         1,305.00      1,305.00          75              0.00             739.00
  56         1,305.00      1,305.00          76                   .00         739.00
  57         1,305.00      1,305.00          77           ,a4739.00           739.00
  58         1,305.00      1,305.00          78          >4 739.00            739.00
  59         1,305.00      1,305.00          79       ( ,Z 739.00             739.00
  60         1,305.00      1,305.00          80           24,535.00        24,535.00
  61         1,305.00      1,305.00          81   ,       26,878.00        26,878.00
  62         1,305.00      1,305.00          82           29,520.00        29,520.00
  63         1,305.00      1,305.00          83 °         32,450.00        32,450.00
  64         1,305.00      1,305.00          84           35,610.00        35,610.00
  65         1,305.00      1,305.00             0         38,928.00        38,928.00
  66         1,305.00      1,305.00                       42,360.00        42,360.00
  67         1,305.00       1,305.00                      45,855.00        45,855.00
  68         1,305.00       1,305.00      4F88
                                          *               49,398.00        49,398.00
  69         1,305.00       1,305.00     q4 89            53,038.00        53,038.00
  70           739.00         739.00
  AFTER THE FIRST 30 POLICY YEARS,         UMS SHOWN FOR THE TERM LIFE BENEFIT
  MAY BE CHANGED IN ACCORDANCE WIT       E CHANGE OF PREMIUMS PROVISION.




 INSURED               ATANACIO B BARRIENTOS       DATE OF ISSUE    SEPTEMBER 23,1999
 ISSUE AGE AND SEX     50      MALE                FACE AMOUNT      $100,000
 PREMIUM CLASS         PREFERRED SPECIAL           POLICY NUMBER    21862299
 50652-95
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               IMPORTANT NOTICE                                         AVISO IMPORTANTE

To obtain information or make a complaint:               Para obtener informacion o para someter una queja:

You may contact your agent                               Puede comunicarse con su aaente.

You may call Guarantee Life Insurance Company's          Usted puede Hamar al          o de telefono gratis de
toll-free telephone number for information or to         Guarantee Life Insu           mpany's para informac-
make a complaint at                                      ion o para sotneter u     eja al:

                   1-800-462-4660                                              00-462-4660

You may also write to Guarantee Life Insurance           Usted *ambi
                                                                       4ede escribir a Guarantee Life Insur-
Company at:                                              ance Com 4,N
8801 Indian Hills Drive                                  8801 Inc* 4 Us Drive
Omaha, Nebraska 68114                                    Omaha(ffiraska 68114

You may contact the Texas Department of Insurance
to obtain information on companies, coverages, rights
                                                             qomunicarse con el Department° de Seguros
                                                                   para obtener informacion acerca de com-
or complaints at:                                        p as, coberturas, derechos o quejas al

                   1400-252-3439                                            1-800-252-3439

You may write the Texas Department of Insuran            Puede escribir al Departamento de Seguros de Texas
P.O. Box 149104                                          P.O. Box 149104
Austin, Texas 78714-9104                                 Austin, Texas 78714-9104
FAX 4(512)475-1771                                       FAX4(512)475-1771

PREMIUM OR CLAIM DISPUTES: Sh                ou have     DISPUTAS SOBRE PRIMAS 0 RECLAMOS: Si tiene
a dispute concerning your premium o         t a claim    una disputa concerniente a su prima o a un reclamo,
you should contact the agent or the         y first If   debe comunicarse con el agente o la compania
the dispute is not resolved, you          contact the    prirnero. Si no se resuelve la disputa, puede entonces
Texas Department of Insurance.                           comunicarse con el departamento (TM).

MACH THIS NOTICE T              UR POLICY: This          UNA ESTE AVISO A SU POLIZA: Este aviso es solo
notice is for information o      does not become a       para proposito de informacion y no se convierte en
part or condition of the    ed document.                 parte o condicion del documento adjunto.




TX-Notice
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                                            PART 1 - DEFINITION OF TERMS

Application- The written application for this policy attached to, and made a part of, this policy.

Attained Age- The Insured's age last birthday as of the most recent Policy Anniversary.

Beneficiary- Any person named in our records to receive the proceeds of this policy after the Insured dies. The
Beneficiary is as indicated in the application, unless later changed Id provided in the policy.

Date of Issue- The date shown in the Policy Specifications. This date Is used to determine Policy Anniversaries, Policy
Years, and premium due dates. This is also the date used to determine the start of the Suicide and Con7billty periods.

Insured- The person whose life is Insured under this policy as shown in the Policy Specifications.,;*

Issue Age- The Insured's age last birthday on the Date of Issue. This is theAge shown in the P                               pecifications.

Owner-The person named as owner of this policy in the application, unless later chan                                   rovided in this policy.

Policy Anniversary- The same day and month as the Date of Issue for each succeedi                                    this policy remains in force.
                                                      - • .•             i•
 Policy Specifications- The pages of this policy so titled which shop. yonr beRefi                       um and other information.

 Policy Year- A one year period of time starting on each successive Policy Ayersary, with the first Policy Year starting
 CM the Date of Issue.

Supplemental Application- A written request for reinstatement of, oange t, this policy.



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                                            PART 2 - GElaRAL PROVISIONS

Entire Contract
    This Policy, and the attached written application, is the entire contract between you and us. Only one of our officers
can thange, modify, or waive any provisions of this policy. This Policy includes the Policy Specifications and any
supplemental applications, riders, amendments or endorsements made a part of this policy.

Contestability
    We rely on the statements made by or for the Insured in the application for this policy.            absence off fraud, they
are deemed representations and not warranties. In addition to the other reasons                       law, we can content the
validity of this policy or any reinstatement of this policy, if a material misrepresenta          fact was made in a written
application which is attached to this policy.
    We will not contest the validity of this policy after it has been ln force, during         red's life, for 2 years from the
Date of Issue. However, with respect to any reinstatement of this policy, or any s t         ental benefit or rider added, we
will not contest tbe validity of the change or reinstatement after it has been in 4t during the Insured's lifetime, for 2
years from the effective date of such change or reinstatement. Only sta                made in the written application for a
change or reinstatement may be used to contest the validity of such change              tement.
    We can always contest the validity of this policy for the non-payment           premium due.

Suicide Exclusion
                                                                    .4Nes
    We will limit the proceeds we pay under this policy if the In         by suicide, while sane or insane, within 2 years
(one year for an application signed in Colorado or North Dako         the Date of Issue.
    The limited amount will equal all premiums paid on this poh '7/

Misstatement of Age and/ar Sex
   If the age and/or sex of the Insured was misstated         "    the benefits payable under this policy are those which the
premiums paid would have bought based on the Insur,           1• rrect age and sex.

Change of Plan
 • You may change the plan or the amount of Injnceorboihas long as we both agree.

Evidence of Age, Death,Sex and Survival
. We may require due proof of:
    (1) the death of any person which        result in proceeds being patkor rights being transresred, under dds policy
    (2) the age and sex of any p            hose life any settlement option income is based; and
    (3) the continued survivatqany person on whose life any settlement option income is based.

Non Participation
   This poky does Is          dividends. It is non participating.        .

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                                         PART 3 - BENEFICIARY PROVISIONS

Designated Beneficiary
    There may be different classes of Beneficiaries, such as Primary and Contingent. These classes set the order of
payment of the policy proceeds. There may be more than one Beneficiary in a ciass. Unless you provide otherwise, and
subject to any assignment, any policy proceeds will be paid in equal shares to the Beneficiaries living at the death of the
Insured. Payments will be made in the following order:
     (1) To the Primary Beneficiaries.
     (2) If no Primary Beneficiary survives the Insured, the proceeds will be paid to any Cottent Beneficiaries who
         survive the Insured.
                                                                                          ocS
     (3) If no Beneficiary survives the Insured, the proceeds of this policy will be paideli owner or to the owner's
         estate.
                                                                                  ,s. ;ciari in
     The interest of any Beneficiary who dies before the Insured will pass to any :.;         es the same class (that is
 Primary or Contingent) who survive the Insured. If a Beneficiary dies at the sam        as the Insured or within 10 days
 after the death of the Insured, the proceeds will be paid as if the Insured had    . at Beneficiary.

 Change of Beneficiary
     Unless otherwise provided, by request, you may change the Benet              e this policy is in force. We may require
 you to send the policy to us. Such change is subject to any existing assi" of this policy. The change becomes effective
 when we record it. Once recorded, the effective date is the date th . uest was signed. The change is subject to any
                                                                       4

 proceeds paid or other action taken by us before the change was zjw,faY

                                                 PART 4 • 0         RSIDP
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 Owner
     The owner of this policy is the person named in       pplication, unless later changed as provided in the policy. The
 Insured win be the owner if no other party is named        r. While the Insured is living, the owner may use all the rights
 and privilests granted by this policy.                                                      . • ••

 Change of Owner
      While the Insured is living, you may       the owner by request. Such thane is subject to any existing assignment of
 this policy. The change becomes effec        en we record it. Once recordea, fité effective date is the date the request was
 signed. The change is subject to any p       paid or other action taken by us before the change was recorded.
                                  (r 0
 Assignment                                                                         ..
     You may assign this policy4* file the assignment or a certified copy With us, WhAil filed,. your riehts and those of
 the Beneficiary are subject tp00..nignment. No assignment is binding on us unless we receive it in writing. We are not
 responsible for the validtty 1ufficiency of any assignment. Any claim is subject to due proof of the interest of the
 assignee.                                                 '          • •Li •          "  •




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                                     et*                                                                                                   01


                                              PART 5. PREMIUM PAYMENTS

General
    This policy may be renewed each year at your option by payment of the premium then due. No evidence of
insurability is required.
    Premium payments are payable to us at the home office or to any authorized representative. A receipt for premium
payments signed by our seeretaty will be furnished if requested. The first premium is due on or before the date this policy
is delivered to you. All premium checks must be made payable to us. A premium paid is ed fully earned on its due
date. Once earned, a premium is non-refundable except as may be specifically stated in this

 Frequency
    Premiums are due in advance at the start of each billing period. At issue, th hung period you selected in the
 application will apply. The amount of premium due for a billing period is shown in Ilcy Specifications.

 Grace Period
     A Orace Period of 31 days will be allowed for payment of each premiu                  r the first. This policy will condnue in
 force during the Grace Period. If the Insured dies during the Grace Period,              paid premium will be deducted from the
 proceeds.


                                           PART 6 - LAPSE AND                    TEMENT

 Lapse
      If any premium is not paid within 31 days of its due da            policy will lapse as of the due date of that premium. In
 this case, the policy will no longer be in force. We call this       lum due date the date of lapse.

 Reinstatement
     Reinstatement means to restore this policy to a              in force status after it has lapsed. We will reinstate this policy if
 we receivc
     (1) your application for reinstatement             the Expiry Date, during the lifetime of the Insured, and within 5 years
         after the date of lapse;
     (2) due proof that the Insured is i          •
     (3) payment of the premium fr  1% 1Qe
                                         date we agree to reinstate the policy to the next premium due date; and
                                  0
     (4) payment of the premIuie for any coverage provided under the Grace Period.
     A reinstatement will bit        ve only as of the date we approve your request for reinstatement.




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                                     PART 7 - CHANGE OF PREMIUM SECTION

   . Premiums shown in the OoliCy SpecificatiOns are the maximunipremium rates that may be charged. The initial rate
perhid is shown in the Policy Specifications. Premiums after the initial rate period are subject to change. It is anticipated
that lower rates than the maximum shown will actually be charged after the initial rate period. If a lower rate is actually
charged in any future Policy Year, we will send you a notice of the change before it takes effect.
   • Any premium rate reduction below the madmums shown in the Policy Specifications will be subject to the following:
    (1) we will not change the premium rates to reflect past profitsbr losses;
    (2) any premium rate reduction will be based on our expectatioti of fttfirit Mortality experience, investment return,
        expense and taxes for policies of this class;
    (3) the reduction will be made for all Insureds with the same issue age, face amo              on, and risk classification
        as the Insured;
    (4) changes in health or occupation of the Insured will not affect any reductlon%w
                                                                                     o
    (5) we will not reduce the premiums for riders or any benefittother than life        fits.


                                            PART 8 - EXCHANGE PROVIS"

    On the 30th Policy Anniversary we will exchange this policy for       policy if we receive satisfactory evidence of
insurability. The 30th anniversary is the Exchange Date. All preml      on this policy must have been paid before the
Exchange Date. The face amount of the new policy must be eq         less than the face amount of this policy. The new.
policy is subject to the following terms:
    (I) You must complete and submit a new applicatio               not more than 90 days or less than 60 days before the
         Exchange Date.
                                                                         .                   • •      ,r.     .   •   ;!. . •
    (2) We must approve the issuance of the new poll        efore it can become effective.
    (3) You must pay the first premium on the nvolicy in order for the new policy to become effective.
                                             ttvi?g
    (4) Coverage under this policy termina ° n coverage under the new policy begins.
    (5) The new policy will be on the samiln as this policy.
    (6) The issue date of the new pollçlI be the Exchange Date. The issue age on the new policy will be the Insured's
        attained age on the     •.
                                 . ...4-0 ate. Annual premium rates for the new policy will be those applicable to such
        policies issued on the I ,ij e Date.
    (7) The Insured's atta          on the Exchange Date= not exceed 70.
    (8) Any rider or            this policy can be included in the new one. Any rider or benefit is subject to the rules and
        premium rates          using on the issue date of the new policy.
    (9) We will 1.),       e required evidence of insurability..
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                                                 PART 9 - CONVERSIONS

Form of Conversion Policy
    Whenever a policy is converted, the issue date of the new policy is the date of conversion. The premium for the new
policy will be based on the Insured's risk class at the Date of Issue of this policy and attained age at the date of conversion.
The policy form for the new policy will be the one we make available for this purpose on the date of conversion. A new
suicide or contestable period will not apply to benefits converted from this policy to a new policy. These periods will be
measured from the Date of Issue of this policy.

Requirements for Conversion
     If you request, this policy may be converted, without evidence of insurability, to an" of permanent insurance on
the Insured, providing that:
    (1) this policy has not readied the earlier of the Policy AnniverSarrafteritOisured's 65th birthday or the 20th
        Policy Anniversary;
    (2) the request for conversion must be in writing and this policy must b9 ned with the request;
    (3) no benefits are being paid under any Waiver of Premium Disabi              nefit;
    (4) no premiums on this policy are in default;
                                                                        ((b
    (5) the premium rate per $1,000 of coverage amount                     permanent plan of insurance is higher than the
        corresponding premium rate for this policy on the da              aversion; •
    (6) the amount of coverage provided by the new poèqual toot less than the amount of coverage provided by
        this policy;
    (7) the amount of coverage provided by the              Hey is at least equal to the minimum amount issued by us for the
        plan chosen;
    (8) coverage under this policy terminat            coverage under the new policy begins; and
    (9) any rider or benefit providing               benefits In the event of disability or death will be made a part of the new
        policy only with our consent.


                                     C9 PART 10 - POLICY PROCEEDS

 Amount of Proceeds
     The proceeds are sub'         adjustment under the Suicide and. Misstatement provisions on page 2. The amount of
 proceeds as defined below       bject to all provisions of this policy. The proceeds payable on the death of the Insured are
 equal to:
     (1) the face         of this policy; plus                             -
    (2) any supleaienta1 benefits and riders payable on the life of the Insured; plus
    (3) any advanced premium payments which are paid past the current piyment period; less
    (4) any premhun needed as set forth in the Grace Petiod provision.

 Interest on Proceeds
      We will pay interest on policy proceeds from the date of the Insured's death to the date of payment, unless such
,.proceeds have a/ready been applied under a settlement option as described in Part 11. If a settlement opdon has been
 selected, .interest will be paid as specified under that option. Interest paid on policy proceeds will be at an annual rate
  determined by us, but never less than the rate required by the state in which this policy is delivered.


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                                           PART 11 - SETTLEMENT OPTIONS

Election of Settlement Options
    While the Insured is living, a settlement option may be elected or changed upon your written request satisfactory to
us. If no such election Is in effect at the time of the Insured's death, then the Beneficiary may make such election. If
payments are to be made to other than a natural person, we must consent to the use of a settlement option. The amount
applied under a settlement option must be at least $2,000 and must be sufficient to provide a periodic payment of at least
$20.

Supplementary Contract
     If a settlement option is elected, then we will issue a supplementary contract staling the t     of settlement The Date
of Issue of the supplementary contract will be the same as the date the proceeds of this policy           payable.
                                                                                                 N,
Death of Payee
    At the death of the last surviving payee, any amount then on deposit under Optlon             4, or the present value of any
                                                                                            e ee unless another provision has

Option 1 or 2 will be based on an interest rate of 4% per year. If the guaran
                                                                    .                 *
remaining guaranteed payments under Option 1 or 2, will be paid to the estate of a '':4
been made in the election of the settlement option. The presen t value of anyg guaranteed payments under
                                                                                             yments are calculated based on an
                                                                                               '



interest rate greater than 4% per year, then such interest rate will be used to mik,Nr.r-7 the present value.
                                                                                NV *
Protection of Proceeds
    Proceeds placed under a a settlement option may not be assigned, wftlgawn. or commuted except as provided in the
election. To the extent permitted by law, such proceeds will not be subjto the claims of creditors or to legal process.

Options
    All or part of the proceeds of this policy may be paid turd          of the options listed below. The first payment under
Option 1, 2, or 3 will be due on the date the proceeds are ap           Interest under Option 4 will accrue beginning on the
date the proceeds are applied; the first interest payment               at the end of the first payment interval.

Option 1 - Income for a Specified Period
    We will pay a monthly income for a period not t        30 years. For each $1,000 applied, the following table shows
the amount of each payment for the number of yearte ected.        .

               Monthly                   Mon                      Monthly                   Monthly                  Monthly
   Years       Income        Years                     Years      Income        Years       Income       Years       Income
     1          584.84         7          $1 11)        13          58.17        19           $6.21       25           $5.22
     2           43.25         8           v.12         14           7.72        20            6.00       26            5.10
     3           29.40         9              7         15           7.34        21            5.81       27            5.00
     4           22.47        10            .06         16           7.00        22            5.64       28            4.90
     5           18.32        11           9.31         17           6.71        23            5.49       29            4.80
     6                        1¼                        18           6.44        24            5.35       30            4.72
                 15.56                     8.69




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    Option 2 - Life Income.We will pay a monthly income for as long as the payee lives. Payments may be guaranteed for
a period, as elected, of 10 years, 20 years, or that period needed for the sum of monthly payments to equal the amount
applied (installment refund). The monthly payments are based on the sex and the age at nearest birthday of the payee on
the date the first income payment is due. Proof of age and sex satisfactory to us will be required. The following tables show
the monthly income payable for each $1,000 applied based on the 1983 Table a and 4% interest:

                                     Option 2 - Male Payee
   Age    10 Years 20 Years Install-        Age    10 Years 20 Years Install-
  ofPayee Certain Certain      ment        ofPayee Certain Certain
                             Refund
   0-10    $3.55    $3.54     $3.54          50     $4.81       $4.65
    11      3.56     3.55      3.55          51      4.88         4.71
    12      3.57     3.57      3.56          52      4.95         4.76        2
    13      3.58     3.58      3.58          53      5.03         4.82     4.89
    14      3.60     3.59      3.59          54      5.11         4.88 `W 4.97
    15      3.61     3.60      3.60          55      5.20         4.94 - 5.05
    16      3.62     3.62      3.61          56      529          5"&°0
                                                                           5.13
    17      3.64     3.63      3.63          57      5.38                  5.21
    18      3.65     3.65      3.64          58      5.48       ff         5.30
    19      3.67     3.66      3.66          59      5.59 (,--.? ,5.18     5.40
    20      3.69     3.68      3.67          60      5.70° '_)) 5.24       5.50
    21      3.70     3.69      3.69          61      5.82         5.30     5.60
    22      3.72     3.71      3.71          62      5            5.37     5.72
    23      3.74     3.73      3.73          63                   5.43     5.83
    24      3.76     3.75      3.75          64                   5.48     5.96
    25      3.78     3.77      3.77          65        .35        5.54     6.09
    26      3.80     3.79      3.79          66      6.50         539      613
    27      3.83     3.81      3.81          67      665          5.64     6.37
    28      3.85     3.84      3.83          68L     6.81         5.69     6.53
    29      3.88     3.86      3.86                  6.97         5.73     6.69
    30      3.90     3.88      3.88                  7.14         5.77     6,86
    31
    32
    33
            3.93
            3.96
            3.99
                     3.91
                     3.94
                     3.96
                               3.91
                               3.93,
                               3.
                                        _1
                                     ....)
                                      -) 73
                                             72   ,,a7.31
                                                     7.48
                                                     7.65
                                                                  5,81
                                                                  5.84
                                                                  5.87
                                                                           7.04
                                                                           7.23
                                                                           7.43
    34      4.02     3.99      3.            74      7.83         5.89     7.64
    35      4.06     4.02                    75      8.00         5.91     7.86
    36      4.09     4.06      4.            76      8.17         5.93     8.09
    37      4.13     4.09         09         77      8.34         5.95     8.34
    38      4.17     4.12          2         78      8.50          5.96    8.60
    39      421      4.16 0 4.16             79      8.66          5.97    8.87
    ao      4.25     4.        4.20          80      8.81         5.98     9.16
    41      4.30     44        4.24          81      8.95         5.99     9.45
    42      4.34               4.28          82      9.09         5.99     9.76
    43      4.39               4.32          83      9.21         5.99    10.09
    44      4.44       .36     4.37          84      9.32         6.00    10.44
    45      4.50     4.40      4.42          85      9.43         6.00    10.78
    46
    47
            4.55
            4
                      0
                   4.45
                     4.50
                               4,47
                               4.52
                                        andabove
    48      44t      4.55      4.58
    49               4.60      4.63




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                                       reN                                              emti)
                                                      Option 2 - Female Payee

    Age         10 Years   20 Years      Install-   Age    10 Years 20 Years Install-
  ofPayee       Certain    Certain        ment    ofPayee Certain Certain        meat
                                         Refund                                Refund
   0-10          83.49      $3.48        $3.48       5$     $4.80    $4.67      $4.71
    11            3.49       3.49          3.49      56      4.87     4.73       4.77
    12            330        3.50          3.50      57      4.95     4.79       4.85
    13            3.51       3.51          3.51      58      5.03     4.85       4.92
    14            3.52       3.52          3.52      59      5.12     4.91       5.09
    15            3.53       333           3.53      60      5.22     4.98        5.09
    16            3.55       3.54          3.54      61       5.32     5.05       5.18
    17            346        3.55          3.55      62      5.42      5.11       5.27
    18            3.57       3.56          3.56      63       5.53     5.18       5.37
    19            3.58       3.58          3.57      64       5.65     5.25       5.48 V
    20            3.59       3.59          3.59      65       5.77     5.32       5 • R)
                                                                                   --• ■
    21            3.61       3.60          3.60      66       5.90     5.39
                                                              6.04     5.45       ',. A?
    22            3.62       3.62          3.61      67
    23            3.64       3.63          3.63      68       6.19     5.51          97
    24            3.65       3.65          3.64      69       6.34     5.58 c(N, 6.11
    25            3.67       3.66          3.66      70       6.50     5.63       6.26
    26            3.69       3.68          3.68      71       6.67     5.6        6.42
    27             3.70      3.70          3.69      72       6.84                6.59
    28             3.72       3.71         3.71      73       7.02                6.77
     29            3.74       3.73         3.73       74      7.21       82       6.97
    30             3.76       3.75         3.75       75      7.40 ', .85         7.17
     31            3.78      3.77           3.77      76      7.60     5.88       7.39
     32            3.81       3.80          3.79      77      7        5.91       7.62
     33            3.83       3.82         3.82       78               5.93        7.86
     34            3.86       3.84          3.84      79               5.94       8.13
     35            3.88       3.87          3.86     80          8,x?  5.96       8.40
     36            3.91       3.89          3.89      81  (., .57      5.97        8.69
    37             3.94       3.92          3.92      82 0 8.74     -  5.98        9.01
    38             3.97       3.95          3.94              8.91     5.99        9.34
     39            4.00       3.98          3.97              9.06     5.99        9.68
     40            4.03       4.01          4.01              9.21     6.00      10.04
     41            4.07       4.04          4.04  **hove
     42            4.10       4.07          4.07
     43            4,14       4.11          4.11,
     44            4,18       4.15
     45            4.23       4.18           44,11
                                                 9,
     46            4.27       4.22
     47            4.32       4.27
     48            4.37       4.31            .32
     49            4.42       4.36           4.36
     50            4.47       4. s           4.41
     51            4.53       4.             4.47
     52            4.59                      4.52
     53            4.66                      4.58
     54            4.72     .   4.61         4.64
    Option 3 - Inca         pecified Amount.
    We will pay            me of the amount elected for as long as the amount applied, with interest at a rate of not less than
 4%, will last.

     Option 4 - Proceeds Held at Interest.
     We will hold the amount applied on deposit. Interest wilt be paid at annual, seml-annual, quarterly, or monthly
 intervals. For each $1,000 left on deposit, interest will bees follows:
             Annual                      $40.00
             Semi-Annually                 19.80
             Quarterly                       9.85
             Monthly                         3.27



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                                 GUARANTEE LIFE INSURANCE COMPANY
                                          Guarantee Centre
                                        8801 Indian Hills Drive
                                        Omaha, Nebraska 68114

                                      ACCELERATED BENEFIT RIDER

   This rider is part of your policy and is subject to the policy provisions. If the pr           of this rider
   and the policy differ, this rider controls.

   In this rider, "Company" means Guarantee Life Insurance Company. "You              the Owner of the
   policy on the "Option Date". "Option Date" means the date on which thitq rompany is in receipt of
   your election to receive the Accelerated Benefit together with all require4uments completed.

   ACCELERATED BENEFIT. The Company will pay to the Owner an                    lerated Benefit subject to the
   provisions of this rider if the Insured develops a Terminal Illness.          • um Accelerated Benefit is
   determined as of the Option Date and is equal to the lesser of:

   1) $250,000; or
   2) 50% of the total of the Eligible Amount of the policy           lch this rider is attached less the total
   outstanding policy loans plus loan interest.

   Before payment of the Accelerated Benefit, the Acttrated Benefit will be reduced by a discount
   percentage determined as of the Option Date. The0,13scount percentage reflects a 12 month interest
   charge using an annual rate of Interest not grea n the larger of:

   1) the current yield on 90 day Treasury bills:*
   2) the current mwdmum statutory adjustabl Icy loan rate.

   However, the annual rate of interest        V exceed 10%.

   The Company will pay the disco        Accelerated Benefit as a lump sum. The minimum amount of
   Accelerated Benefit shall be $5!iT An administrative expense fee of $150 will be charged and
   deducted from the discounted MCelerated Benefit.

   ELIGIBLE AMOUNT. Th               le Amount is the amount of insurance for each policy on the Insured
   owned by you in effect ofl<   e Option Date. It includes:

   1) the amount of any        term rider which is eligible for conversion and in effect
   at that time and •      re than two years until maturity; and
   2) any dividend       mulated with interest left on deposit; and
   3) the amount      y paid-up  additions; and
                   4
   4) any Adj          erm Protection in effect at that time.



                                                    NOTICE
   DEATH BENEFITS, CASH VALUES, AND LOAN VALUES WILL BE REDUCED IF AN
   ACCELERATED BENEFIT IS PAID.



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 The Eligible Amount does not include:

  1) the Cash Value on a Flexible Premium Adjustable Life policy with an Option B death benefit;
  or
  2) the amount of life insurance on any person other than the Insured; or
  3) the amount of any Accidental Death Benefit rider, or
  4) the amount of any other riders or benefits; or
  5) the amount of any decreasing term policies or riders; or
  6) the amount of any one year term policies, one year term rider, or one year term
  dividend options; or
  7) the amount of any policies or riders which provide insurance on more than
  EFFECT OF ACCELERATED BENEFIT ON POLICY VALUES. The                                    t of an Accelerated
  Benefit will result in a pro-rata reduction of the death proceeds, face            t, cash value, dividends
  deposited, and any outstanding loans. The pro-rata reduction will be b            on the percentage of the
  Eligible Amount accelerated to produce the Accelerated Benefit. 0

  After payment of the Accelerated Benefit, the policy's premiums                uce to the level required for
  the reduced amount of insurance.
  You may repay all or any portion of the Accelerated Benefit.P

  TERMINAL ILLNESS. A Terminal Illness is any condMo1ilch reduces the Insured's life expectancy
  to twelve (12) months or less from the Option Date.>       rder to consider payment of an Accelerated
  Benefit, proof of diagnosis of the Insured's Term          llness must be received satisfactory to the
  Company. This proof will include the certificatio       teemed physician other than a member of your
  family, the Insured, or You of the diagnosis              Insured's Terminal Illness. In addition, the
  Company reserves the right to conduct itsq‘wn investigation at the Company's expense. Such
  investigation may include, but is not 11mited4o, an examination of the Insured by a physician the
  Company designates. If the opinion of           ompany's physician differs from that of the Insured's
  physician, then the Company will pro        'r a third opinion by a physician mutually acceptable to
  both the Company and the Owner.* it _- L , opinion will be binding on us and at the Company's
  expense.

  CONDITIONS. The payment of asccelerated Benefit is subject to the following conditions:
   1) The policy must be in          t er than as extended term insurance.
  2) The policy must not be           ned, except to the Company, as security for a loan.
  3) The payment of an A,:e4erated Benefit must be approved by an irrevocable
  beneficiaty. The Com,          . reserves the right to require a consent from the
  Insured and the spo C the Insured.
  4) The Accelerat          efit may be paid only once for each Insured.
  5) Any dividend
                    ■     n with dividends paid in cash will be changed to dividends
  accumulated_4_,2-1 1. terest.
  6) No ben .".117' be eligible for acceleration if a Long Term Care, Long Term
  Care Plus, or       ving Benefit Rider is attached to the policy.
  7) This rider provides for the accelerated payment of a portion of the death
  benefit of your life insurance policy. This Ls not meant to cause you to
  involuntarily access proceeds ultimately payable to the beneficiary.
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  Therefore, you are not eligible for this benefit if:
  1) you are required by law to use this benefit to meet the claims of creditors,
  whether in bankruptcy or otherwise; or
  2) you are required by a government agency to use this benefit in order to
  apply for, obtain, or otherwise keep a government benefit or entitlement.

  LIMITATIONS. No benefit will be provided by this rider if Terminal Illness results from intentionally
  self-inflicted injuries.

  COST. There is no charge for this rider prior to the time Accelerated Benefits

  TERMINATION. This rider will terminate at the earliest of the following:

  a) when the Accelerated Benefit is paid; or
  b) termination of the policy; or
  c) the maturity date of the policy, or                            A-7
  d) when a written request to terminate this rider is received at theke Office.
                                                                      a
  REINSTATEMENT. If the policy is reinstated, then this rid                be reinstated.

  GENERAL. This rider is a part of the policy to which               is attached. Its benefit is subject to all
  the provisions of this rider and the policy. This rider has     cash or loan value. It does not affect any
  net single premium or reserve referred to in the policy



  Signed for the Company at Omaha, Nebraska.




               74.:411/444.v
                         Secr
                                                                z?.                 /24.,
                                                                                        ...c.c
                                                                                       President




                                           TAX CONSEQUENCES
  Receipt of an- 4- ) ted Benefit under this rider may be taxable. You should seek advice from
  your personttdvisor prior to adding this rider or submitting a request for payment
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                                (4 `
                                                            t .P,ANY
                                  GUARANTEE UFE INSURANCE COi:
                                            PO BOX 2615
                                        OMAHA NE 68103-2615


                                           AMENDMENT TO POLICY



    Amendment to Policy #            IV4t S.A. ill                    Appfication Dated   Fr- 3,14          7
     Instruction to Agent

     •.    Do not deliver the policy unless both this copy of the form and the one          to the poky am signed.

     2. The health certificate must be compteted if them is an X in the               ignated. If there has been a
        change in health or a consultation wall a physician, do not de               policy. Call the underwrfter for
        instructions.

     3.    M appropriate signature(s) must be included and this erne          t must be dated.

     4.    Return this signed form to the Home Office promptly.     ol
    164.       Poky change: By signing below I accept die             g change(s).

                O      Extend Term Insurance Eliminated
                O      Issued at Tobacco Rates               Z6,-r)
                                                                 ;
               dir.... Premium Amount $
                       0 Annual         0 Semi An                   0 Quarterly It. Monthly, basis
                O      Plan Changed to
                O      Amount of Insurance Ch an
                0 Added                         ej
                                                .,
                O       Eliminated
                                          , ,S;: j)
               1E4 Poficy Issued Sp, „              _ . premium or cost of insurance increased.
                Cl Waiver of P 4; Waiver of Monthly Deduction. Disability Credit of Premium at
                        Increased Pre iu
                O       Accidental       Benefit at Increased Premium


     0          Heafth Cerlk
                           ,
                As the ,          ned insured I represent that I am, and all members of my family if proposed
                for i Vce, are in good health to the best of my knowledge and have not been VI, injured.
                     ■4'
                tlesto ed or attended by a physician since the application for insurance except as follows:
                       e, so state)




                Owner (If other than Insured)                                                    Itisured


                                                                                          Second Insured


                           Agent                                                                  Date


      IDNB-928-HC
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          GUARANTEE LJFE INSURANCE COMPANY
                                      New Life Application (Please Print pr Toe!
1. Proposed Inswed for Basic Policy.                                                                dis •
   a. Full Name fiTANiffida ?T.)*         bilfeamoris                                    D 1111 4q
                                                                              b. Date of birth M
   c. Soc. Sec. NaR111101111111MIL__ d.trthplace O4c Uth                             a Male _L. Female
   1. Height 52.± Weight i@()._ Weight loss in last 12 months? ifiatet_a oliver's license #
   h. Residential Address 6 b6:1 latOILVain                  City
                   Zip :11 (1' 3 County HarrtS              Phone NO. cAti           Lig0
                                                                                       (            )

      State
I. Employer 13arrteith‘ Frafpu.A.LA              occupation                                 How Long 31/
   Add       S2111 Tallarax--                    Describe Duties 50.12.--rvi           194-0:fa.3131. .
  City                                 state -  11(              -
                                                         p_11C2.*R7
  Phone No.                                                     Annual Earned
  Most oonvenient place to call you: tg.Home 0 Work Best day(s) to call
2. Name of Spouse if included or Applicant, if payor waiver requested.
  a.Full Name                                               b. Relational*                          a Male ______ Female
  d. Birthplace                       a Date of birth M          D                     f. Soc. Sec. No.
   9- He              Weight              Weight loss in last 12Th?            Driver's license #
3. List all Level Term Rider Children and or Specified I            !cants. Complete #12 if age 23 and over for SIR:
                                                           (--)' Birthdate
             Names                             ationship s4n -' IA   0     Y      Birthplace         Height    Weigh
   a                                                     "t -
                          •
   b.
   c.                                              U


   e. Atejrchiidren listed the natural or        Fly adopted children of the Proposed Insured or Spouse, and Is th
      perrnanent residence the resid             Proposed insured?        0 YES         0 NO      If NO, evlain in I
4. OWNER, if other than Proposed             #1. Include contingent owner, if any, in #7. Qf trust, give name, date of tn
   a. Full Name                        0                             b. Soc. Sec. or Tax I D. #
   c. Address                                             City                             State                  ZIP
   d. Purpose of I
5. PLAN OF INSURAN
   a. Plan of Insurance,‹
   c. Riders:
                              0    'fr. TextlilAmounts
                                                                      b. Amount of Insurance      ICY\ 06 0
                                                                         Option (if U.L.) 0 A (Increasing)         0 B (Lev
      0 Ace-Wen         h Benefit                                        O Waiver of Premium
      •     .• , L 7 crease Benefit                                      o WMD 0 DCP (For U.L.)
     O LIR'     -se                                                      o AI'L included if available unless box checked      }
     O LTR-Children                                                      0
     O Specified Insured Rider                                           0
5. PREMIUMS
                                                                                                  Amount remittedirto
   a. Mailing Address                IM
                         Res. 0 B. 0 Other; give full address in number 7.                        application $
   b. Premium Mode 0 Annual 0 Semiannual 0 Quarterly ki3D 0 Other
   c. Planned Periodic Premium (UL only) $                                     Additional Deposit (U.L)
7. Details and special requests.


IDNB 1 (149)
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                                              (ohN


 3.
      Beneficiaries (print full name, give percentage share for each and relationship to proposed insured)
                      Full names and social security number                  % Share Relati          to Proposed Insured

      a. Primary   AVM ?tete/MOS                                                         100           cep



      b. Contingent

 9. LIFE INSURANCE CURRENTLY INFORCE ON I(ROPOSED INSURED(S). Check if none 0
      a • Indicate Name of Company.,          ,                             Accidental                                  :,.- - f Personal or
         end proposed Insured      .                       Amount             Death        Issu Dale                -471- ess Insurance

           --rme- covotr5 ,,                            micro               vox             a 741              tw4, ,-,



      b. Will the policy applied for replace or change any life insurance or annuity             R. ; 1•‘-*n   fame?                      0 No
         If "Yes" list companies and complete the required state replacement fo                             Ae3 Ars
                                                                                                        OF A-

                                                                                            •
      c. Has other life insurance been applied for in last 90 days? 0 Yes                       a If yes, explain
, 10. For any person proposed for Insurance:
                                                  Give full details to "Yes"             n remarks                                  YES        NO
      a. Are you a citizen of the United States?
         if "NO", provide country, type of visa, and expiration d                marks, below,
      b. Do you have any plans to travel or live outside the USA .j*
      c. Have you flown, or intend to fly as a pilot, student . 4 .I-Or crew?
      d. In the last three years, have you engaged in, or do you rA
                                                                               ada, or have you in the last three years? 0

                                                                      1. nd to engage In motorized racing, hang gliding,
                                                                                                                         0                     a
         scuba dMng below 60 feet, mountain doting                       other similar sport or avocation?
                                                                 *"
         If "YES" to "c" or "d" complete supple'4<,
                                                                   uestionnaire.
      a In the past three years, have you had twif                se moving violations, been convicted of reckless
         driving or driving while intoxicated in            five years?                                          0       0  ESL
      I. Have you been convicted of, or areainng trial for a felony?                                                     0  el-
      g. Have you ever used any t                       d products?                                                      0  lgt..
         If "YES" when did the pr°P.°8 41          - ..    last use tobacco based products? Month and year_
         Type used               .        <,...k>                    Quantity
      h. Have you applied for ins
                                          r.
                                                 which was declined or modified?                                         0 4§
      L Have you in the past 5 .. CC. F.' '     bled Or reclusged Worker's cbraP, Soc. Sec. dlsability income payment? 0
  11. REMAR AND 0 .„.1. . t,...:...*6 "YES" ANSWERS. ,.
                                                                                Vrum 61) h./aryl( it/i.
                              AA&
  12. Questions for Specified insured Applicants (Age 23 and over)                          Soc. Sec. No.
      a. Residential Address                                         City                       ZIP              Phone ( )
      b. Bu'enees Address                                            City                       Zip              Phone ( )
       Employer
      C.                    Occupation                                                                                 How Long
      d Describe Duties__ Annual Earned Income
      a Primary Beneficiary                                                                     Relationship
      f. Contingent Beneficiary                                                                 Relationship
           •       A
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                                              elik‘         in continuation of and forming                     Guarantee Ule insurance Company
                                                                 ped of application for                        P.O. Box 2616
            GUARANTEE LIFE                                          insurance in the
            INSURANCE COMPANY                                                                                  Omaha, NE 88102615
                                                                                                               1400-4824580
                                                                                                               FAX 402-351-2891
                                              GUARANTEE UFE INSURANCE COMPANY



 1. s, Nods and address of your personal physfoiso? Meow, so maw SI
                                                                                           '     :24   az... fbpa. urkor
    b. Dab and reason fast mimed? 117/ft                                                          4.4",   RAS,A44

     C. Whet treatment was given or medication prescrbed?                       srl


     Have        ever been treated for or ever had any imown Yes           DETAILS of "Yee                     (IDENTIFY QUESTION
                ot                                                                                                MIA& Include deg-
     a. Disorder of eyes. ears, noes, or throat?                    0      noses, dates.
                                                                                      CIRCLE           :')      and addressee of ail al-
     b. Dizziness, fabling, convulsions. heads:* speech de-                                     '.- '• - facillies.)
        fed. Paralysis or stroke; mental or nervous disorder?        0 Er. tending girielene
                                                                                                                       dsrmsr.
     c. Shortness of tweet% raistent hoemeness br cough,
          ram= ohmic rsslijirISIZ dis       astrwentPhyaenta• 0 cr-4I1 L
                                                                            , C  ) I:m..14254
                                                                                 iA) Co          L
                                                                                                El
                                                                                                    / P PS
                                                                                                     r 00 e elm CsmacL 10 Ali
                                                                                                      ore- bw-14%.
     d. Chest pain, palpitation, high blood pressure, rheumatic
        lever, heart murmur. head attadcor other diemner d the
        heart or blood vessels?                                     0 IEr.- °et"            4- No 40 10444//bio -141-4-11-04/1
     a. Jaimdice, bdestinal bleeding; ulcer, hemia,                            i I       itce4meo44 Ave gi- / or 44 cora 0 71 neb
        003311. diverliddille.               recurrerd=                                                      iro
                                                                                               0/..efeillLA-fk      x-arssotked_
                                                                                                               s a iLt
        or other disorder of the stomach, Intestinee, liver or gdi-
        bladder/
     1. Sugar. albumin, blood or pus In urine; venereal disease;
        stone or other disorder of kidney, bladder, prostate or
        reproductive organs?
        Diabetes; thyroid or other endocdne disorders?
     ft Neuritis, Wake, rheumatism, arilellis. gook or disorder
        of the muscles or bones, including the spins, back, or
                  , lameness or amputation?
    j. Molder of akin, lymph glands. cyst, tumor, or
    k. Allergies; anemia or other disorder ol the blood?
     L Excessive use of alcohol. tobacco, or any
   .7,
1-4Eigs? yau
          younrradolid
                     aireirchan
                           °1281evatie
                                    ln :411;tuatme
                                                ln I: 7 ,.tt:::,_
                                                               :,::=.'''
 .   Other than above, have you Mihin the pad 5                     ,....


    a. Had any mental or physical disorder not 1.1, 1 .
    b. Had a declaim consultation, tinges,
    C. Been a patient In a hospital, clinic, .....                 or other
        medical faollity?
     d. Had deWograme X-ray,• , L't • ' • tb MeV_
     a. Been advised to lave any •'...:                      hospitalize-
        don, or surgery witch was not —
 G. Have you ever had military                                rojecion or
     discharge because of a                    mental conditiont_
 7. Have you vier regorged •_. .,                  a pension, benefits,
    or payment because d . , Q, . alcimess, or diesbillyt....
 8. Family listory: . ,             1/4 -) debates, cancer, high blood
    pressure, head Of                            mental iliness or rod-
    Me?                       (41 .
                           .. ,
                                                                            o
                                               Cause of Death?              Age at
                                                                            Death?
     Father                                                                           . Females only:                                     Yes No
     Mother                                                                              a. Have you ever                   al mambo-
 ampere and rear                                                                                                              organs Of
                                                                                           et=
                                                                                           b
 No. Living                                                                             b. To the - -t7.7 I • •           and belief rue °
 No. Dead                                                                                             Atli"                               0 0
I represent that all eldements and answers above are complete and true and agree that they constitute a part of my application for
insurance.
AUTHORIZATION: I hereby authorize and request any physician, clinic or hospital to furnish the Guarantee Life insurance Comm" run
and all kdonnallon reporting my condition when under observation or treatment by them. A copy of this authorization shall be as vale a
Ow aloha
Dated at                                ▪     day of ...9tcr-
Witnessed by
1DN20 0 0/05/
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13. HEALTH HISTORY
    The following questions apply to all persons proposed for insurance. Give full details to "YES" answers nin Number'''.
   a. Primary Insured: Name and address of personal physician: NameN • shlAtiss :1"snxet                           er     .1



      Address to k-56 Caoss                      city ttou                    State 'PI.'"                           DOWN-
      Phone No. (Zta.) cPZIa-2.401.) Date, reason last seen 3 -1--                 Clkuk-410 (raulini)
   b. Spouse Insured: Name and address of personal physician: Name
      Address                                      City                                          State               Zp
      Phone No. ( )                Date, reason last seen
   c. Other Insured(s): Name and address of personal physician: Name
      Address                                         City                                                           DP
      Phone Na ( )                      Date, reason last seen
                                                                                                  \e,                     YES NO
    d. Have any of your immediate family (parents, brothers, sisters) died from heartcCeise or cancer prior
       to age 60? If "YES", identify family member, cause, age at death in Nu mb        4.                                0        Nck
    e. Have you within the past 7 years been diagnosed as having, or been              for acquired immune
      deficiency syndrome (AIDS), or AIDS-related complex (ARC), or tested                    for antibodies to the HIV
      virus?                                                                                                        0
    f. Have you ever had, or been told of having: high blood pressure, or ‘ t.sia of the heart or blood vessels:
       stroke, chest pain, cancer or tumor of any kind; gastric or            mai disorder; diabetes; mental or
       nervous disorder; epilepsy; lung or respiratory disorder; k          urinary tract disorder; disorder of the
       blood or lymph nodes; hepatitis or liver disorder?                                                           OA-
       If "YES", circle the items that pertain and give full
    g. Have you ever received advice, counseling, or t            t as the result of the use of alcohol or drugs? 0
    h. Have you ever used cocaine (including crac             in, LSD, PCP, amphetamines, barbiturates, any
       derivative of these drugs, or any other su           except as prescribed by a physician?             0
    I. Have you in the past five years been hose       ad or have you consulted, been examined or treated by
      any other physician, psychiatrist, or           I practitioner not disclosed in response to the previous
       questions?                                                                                                          0
       Give full details to "YES" in Num14 (names, addresses, dates)
    j. Are you taking, or have you b .1% ; dvised to take, any medication in the last 5 years?                            0         0

14. Details of "YES" answers I            er 13; list names and addresses of doctors and hospitals, diagnosis,
    treatments, results, dates ttr , recovery.
                            0


  Question         Proposeckg-
    No.             Insure                                                                                           .
                                                                                          •
                           0                                                      •                            •               ,

  OF.          '    ,.),    dabtitt tot uttiottilitti, slko br, gowdel--fr                                   oli    8**            E
                                                  044 64 WOOL                   falathill.4      ° k' GI Lbie.0 Pid e- " 6e0
                             cura ‘4C41.1 e izog. is to ftitt       eiti- 61-         .


HOME OFFICE USE ONLY ENDORSEMENT (Not applicable in State of West Virginia)

                                  ram gpe



                                                             -3-
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                                   (AIN'                                            Ars
, AGREEMENT:
  The Proposed Insured(s) and the Applicant, if other than the Proposed Insured(s), agree that:

  1. I have read the statement's and answers in this application. To the best of my knowledge and belief, they are tn
     complete, and correiitly stated.

  2. The statements and answers given in this application and any amendments to            II,   along with statements made to t
     medical examiner, will be the basis of any insurance issued.

  a No agent, broker, or medical examiner or physician has authority to make Of alter any contract for the Company.

  4. Unless the policy becomes effective as specified in the Conditional Receipt attached         this application, Guarantee L
     will incur no liability until: (a) the full first premium Is paid; and (b) the policy ap      for has bsen delivered to a
     accepted by me. When I accept the policy, the state of health ol the proposed in        (s7
                                                                                               s) or any other factor which affe.
     insurability must be the same as set forth In this application.

  5. I have received the Conditional Receipt If money was submitted with 1 .        ication. I have read the ContiRim
     Receipt and agree to Hs terms, conditions, and limits. They have  :4) ly explained to me by the agent or brok



  AUTHORIZATION


    I authorize any physician, medical professional, hospital         other medical or medically related facility, Insurance
  reinsurance company, the Medical information Bureau, in          mums( reporting agency or employe; having informal
  available as to diagnosis, treatment and prognosis witil       ci to any physical or mental condition and / or treatment
  me or my minor children and any other nonmedical Info        n about me or my children, to give to Guarantee Life lnsumr
  Company, or its reinsurers, or all of the above sou         y and ail such information.

    I understand the information obtained by use            uthorization will be used by Guarantee Ufe Insurance Company or
  reinsurers, to determine eligibility for insurance (41 information obtained will not be released by Guarantee Ufe insurer
  Company lo any person or organization EC - • reinsurance companies, the Medical information Bureau, Inc., oroti
  persons or organizations performing bus! La:). r legal services in connection with my application, or as may be otherw
  lawfully required or as I may further e.

    I know that I may request to rece   copy of this authorization, I agree that a photographio copy of this authorizat
  shall be as valid as the original. I edge receipt of the notice of insurance information practices. I agree this authorize]
  shall be valid for thirty (30) MO, om the date shown below.
                                     0                                            01*
  Dated at: City                                  State        lY       , this -    (A)
                                                                                     day of

    ignatures below I           acceptance of the "Agreement" and "Authorization" sections above.
                                                    ./

 il     . '
    i nature of
     (if mino; s
                            Insured
                      re of legal .guardian):
                                                                  X
                                                                  Signature of Spouse, or other proposed Insured.


  X                                                                    X
  Signature of 0      r/Age!cant (if other than propose insured)        Signature of Other Proposed Insured

  X                                                                    X
  Signature of Agent or Witness                                         Signature of Other Proposed Insured




                                                                 •4-
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                                                                                                    11/30/2016 10:28:47 AM
                                                                                  Chris Daniel - District Clerk Harris County
                                                                                                    Envelope No, 14019673
                                                                                                        By: DANIEL FLORES
                                                                                            Filed: 11/30/2016 10:28:47 AM

                                       CAUSE NO. 2016-35858

ATANACIO BARRIENTOS,                                           IN THE DISTRICT COURT

          Plaintiff,

v.                                                             55 th JUDICIAL DISTRICT

THE LINCOLN NATIONAL LIFE
INSURANCE COMPANY,

          Defendant.                                           HARRIS COUNTY, TEXAS

                               DEFENDANT'S ORIGINAL ANSWER

          Defendant The Lincoln National Life Insurance Company ("Lincoln National") files this

original answer to Plaintiff s First Amended Original Petition (the "Amended Petition") and

states:


                                               ANSWER

          1.       General Denial. Subject to such admissions and stipulations as may be made at

the time of trial, Lincoln National denies generally and specially the material allegations

contained in the Amended Petition and demands strict proof thereof in accordance with the

requirements of the laws of this State.


                                        REQUESTED RELIEF

          2.       Prayer. Lincoln National respectfully requests the following relief:

                   (a)    That Plaintiff take nothing by reason of his suit;

                   (b)    That Lincoln National recover its court costs; and

                   (c)    That Lincoln National have all such other and further relief, both general

                          and special, at law and in equity, to which it may show itself justly

                          entitled.

DEFENDANT'S ORIGINAL ANSWER - Page 1
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                                            Respectfully submitted,

                                            FIGARI + DAVENPORT, LLP

                                            By:     /s/ Andrew C. Whitaker
                                                    Andrew C. Whitaker
                                                    State Bar No. 21273600
                                                    andrew.whitakeafildav.com

                                            901 Main Street, Suite 3400
                                            Dallas, Texas 75202
                                            (214) 939-2000
                                            (214) 939-2090 (telecopy)

                                            ATTORNEYS FOR DEFENDANT
                                            THE LINCOLN NATIONAL LIFE
                                            INSURANCE COMPANY


                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing document has been sent by
email and certified mail, return receipt requested, to Mr. Anis Damani, Damani Law Firm,
PLLC, 8303 Southwest Freeway, Suite 111, Houston, Texas 77074, on this 30th day of
November, 2016.

                                            /s/ Andrew C. Whitaker
                                            Andrew C. Whitaker




DEFENDANT'S ORIGINAL ANSWER - Page 2
